                           EXHIBIT A




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THIS IS NOT A SOLICITATION OF A VOTE ON A PLAN OF REORGANIZATION. SUCH
A SOLICITATION MAY ONLY OCCUR FOLLOWING APPROVAL BY THE BANKRUPTCY
   COURT OF A DISCLOSURE STATEMENT PURSUANT TO SECTION 1125 OF THE
                            BANKRUPTCY CODE

              In re PG&E Corporation and Pacific Gas and Electric Company

                  Second Amended Term Sheet for Plan of Reorganization

                                       October 4, 2019

        This term sheet (the “Term Sheet”) is proposed by the Official Committee of Tort
Claimants (the “TCC”) and the Ad Hoc Committee of Senior Unsecured Noteholders of Pacific
Gas and Electric Company (the “Ad Hoc Committee”) and sets forth certain of the principal terms
and conditions for the proposed reorganization (the “Reorganization”) of PG&E Corporation and
Pacific Gas and Electric Company, each of which commenced cases (the “Chapter 11 Cases”)
under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) in the United
States Bankruptcy Court for the Northern District of California (the “Bankruptcy Court”) on
January 29, 2019 (the “Petition Date”). The Reorganization contemplated herein shall be
implemented pursuant to a proposed joint chapter 11 plan of reorganization (the “Plan”).

     THIS TERM SHEET DOES NOT CONSTITUTE (NOR SHALL IT BE
CONSTRUED AS) AN OFFER WITH RESPECT TO ANY SECURITIES OR A
SOLICITATION OF ACCEPTANCES OR REJECTIONS AS TO ANY PLAN, IT BEING
UNDERSTOOD THAT SUCH A SOLICITATION, IF ANY, ONLY WILL BE MADE IN
COMPLIANCE WITH APPLICABLE PROVISIONS OF ALL APPLICABLE LAW. THIS
TERM SHEET DOES NOT ADDRESS ALL TERMS THAT WOULD BE REQUIRED IN
CONNECTION WITH ANY POTENTIAL TRANSACTIONS REFERENCED HEREIN,
AND THE ENTRY INTO OR THE CREATION OF ANY BINDING AGREEMENT IS
SUBJECT TO THE EXECUTION OF DEFINITIVE DOCUMENTATION IN FORM AND
SUBSTANCE CONSISTENT WITH THIS TERM SHEET AND OTHERWISE
ACCEPTABLE TO THE AD HOC COMMITTEE AND/OR THE PG&E CORP. NEW
MONEY COMMITMENT GROUP (AS DEFINED HEREIN).

     THIS TERM SHEET IS BASED SOLELY ON PUBLICLY AVAILABLE
INFORMATION.




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                                               PLAN OVERVIEW1

    Debtors           PG&E Corporation (“PG&E Corp.”) and Pacific Gas and Electric Company (the
                      “Utility” and together with PG&E Corp., the “Debtors”). Following the
                      occurrence of the effective date of the Plan (the “Effective Date”), PG&E Corp.
                      and the Utility will be referred to herein as “Reorganized PG&E Corp.” and the
                      “Reorganized Utility,” respectively, and collectively as the “Reorganized
                      Debtors.”

    Transaction       As set forth in greater detail herein, the Plan shall provide for:
    Overview
                           •   $29.2 billion in new money investments in exchange for common stock of
                               Reorganized PG&E Corp. (representing approximately 59.3% of the
                               outstanding common stock of Reorganized PG&E Corp. on a fully diluted
                               basis), new debt of Reorganized PG&E Corp. and new debt of the
                               Reorganized Utility, in each case as described herein;
                           •   The proceeds of the new money investments shall be used to (a) pay in full
                               outstanding DIP Financing Facility Claims (as defined below), (b) pay in full
                               all Utility bond, term loan and revolving debt maturing prior to December
                               31, 20222, (c) fund the creation of two trusts for the purpose of paying certain
                               fire claims related to those Northern California fires listed in Schedule 1
                               attached hereto with $25.5 billion, consisting of $12.75 billion in cash and
                               $12.75 billion in shares of common stock of Reorganized PG&E Corp. (at
                               plan value), which will represent approximately 40.6% of the outstanding
                               common stock of Reorganized PG&E Corp. on a fully diluted basis,
                               (collectively, the “Aggregate Fire Consideration”), and (d) fund the
                               Debtors’ contribution of $5.0 billion, which amount consists of both the
                               Debtors’ initial and first annual contributions, to the long-term California
                               statewide wildfire fund created for purposes of paying future utility-related
                               wildfires in California (the “Wildfire Fund”);
                           •   The two trusts to receive the Aggregate Fire Consideration will be (i) a trust
                               for the purpose of paying certain fire claims related to those Northern
                               California fires listed in Schedule 1 attached hereto (the “Fire Victim
                               Claims Trust”), funded with $14.5 billion3 and certain other fire


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   This document is based on publicly available information regarding the Debtors as of June 25, 2019. Certain of the
   terms for the Plan included herein are subject to change depending upon the Debtors’ financial performance over
   the remainder of the Chapter 11 Cases including, but not limited, to its cash generation and borrowings under the
   DIP Financing Facility.
2
  Includes the Utility Unsecured Revolving Credit Facility Claims, Utility Unsecured Term Loan Claims, Short-Term
   Utility Unsecured Notes Claims and Utility Pollution Control Bond-Related Claims, each as defined below.
3
  The funds shall be set aside for certain settling Public Entities in accordance with the Plan Support Agreements
attached to the Debtors’ June 18, 2019 Form 8-K (collectively, the “Public Entity Plan Support Agreements”) and
consistent with this Term Sheet. The term “Public Entities” includes (1) the City of Clearlake, (2) the City of Napa,
(3) the City of Santa Rosa, (4) the County of Lake, (5) the Lake County Sanitation District, (6) the County of
Mendocino, (7) County of Napa, (8) the County of Nevada, (9) the County of Sonoma, (10) the Sonoma County
Agricultural Preservation and Open Space District, (11) the Sonoma County Community Development Commission,
(12) the Sonoma County Water Agency, (13) the Sonoma Valley County Sanitation District, (14) the County of
Yuba, (15) the Town of Paradise, (16) the County of Butte, (17) the Paradise Park and Recreation District, and (18)
the Calaveras County Water District.
                                                         2

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                           consideration as set forth herein to be contributed to the Fire Victim Claims
                           Trust (collectively, the “Aggregate Fire Victim Consideration”) and (ii) a
                           trust for the purpose of paying insurance subrogation claims related to those
                           Northern California fires listed in Schedule 1 attached hereto (the
                           “Subrogation Claims Trust”), funded with $11.0 billion (the “Aggregate
                           Subrogation Consideration”);
                       •   Reinstatement in full of the Long-Term Utility Unsecured Notes; and
                       •   Payment of all trade claims in the ordinary course of business and assumption
                           and/or continuation of pension-related obligations.



                    PLAN TREATMENT OF PG&E CORP. AND UTILITY CLAIMS

                                         Unclassified Claims

     Claim                                               Treatment
 DIP Financing     Each holder of a claim under the Senior Secured Superpriority Debtor-in-Possession
 Facility Claims   Credit, Guaranty and Security Agreement, dated as of February 1, 2019 (the “DIP
                   Financing Facility,” and the claims arising thereunder, the “DIP Financing Facility
                   Claims”) shall receive, in full and final satisfaction, compromise, settlement, release,
                   and discharge of such DIP Financing Facility Claim, payment in full in cash on the
                   Effective Date.

 Administrative    Each holder of an allowed administrative expense claim against the Debtors under
 Expense           section 507(a)(2) of the Bankruptcy Code (other than DIP Financing Facility Claims)
 Claims            (the “Administrative Expense Claims”) shall receive, in full and final satisfaction,
                   compromise, settlement, release, and discharge of such allowed Administrative
                   Expense Claim, cash equal to the allowed amount of such Administrative Expense
                   Claim on the later of (i) the Effective Date or as soon thereafter as is reasonably
                   practicable, and (ii) the date such Administrative Expense Claim becomes an allowed
                   Administrative Expense Claim or as soon thereafter as is reasonably practicable.

 Priority Tax      Each holder of an allowed claim of a governmental unit (as defined in section 101(27)
 Claims            of the Bankruptcy Code) of the type specified in section 507(a)(8) of the Bankruptcy
                   Code against any Debtor (the “Priority Tax Claims”) shall receive, in full and final
                   satisfaction, compromise, settlement, release, and discharge of such allowed Priority
                   Tax Claim, (a) cash equal to the amount of such allowed Priority Tax Claim on the
                   later of (i) the Effective Date or as soon thereafter as is reasonably practicable and
                   (ii) the date such Priority Tax Claim becomes an allowed Priority Tax Claim or as
                   soon thereafter as is reasonably practicable, or (b) such other treatment consistent
                   with the provisions of section 1129(a)(9) of the Bankruptcy Code.

                                         PG&E Corp. Claims

     Claim                   Classification/Treatment/Voting                   Estimated       Estimated
                                                                                Allowed            %
                                                                                Claims         Recovery

                                                    3

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 Class 1A:         Classification: Holders of allowed claims against
 Other PG&E        PG&E Corp. entitled to priority under section 507(a) of         [TBD]      100%
 Corp. Priority    the Bankruptcy Code (other than DIP Financing
 Claims            Facility Claims, Administrative Expense Claims and
                   Priority Tax Claims) (the “Other PG&E Corp.
                   Priority Claims”).

                   Treatment: Each holder of an allowed Other PG&E
                   Corp. Priority Claim against PG&E Corp. shall receive,
                   in full and final satisfaction, compromise, settlement,
                   release, and discharge of such allowed Other PG&E
                   Corp. Priority Claim, (i) cash in an amount equal to
                   such allowed claim on the Effective Date or as soon
                   thereafter as is reasonably practicable, or (ii) such other
                   treatment consistent with the provisions of section
                   1129(a)(9) of the Bankruptcy Code.

                   Voting: Unimpaired – deemed to accept.

 Class 2A:         Classification: Holders of claims (other than DIP
 Other PG&E        Financing Facility Claims) (the “Other PG&E Corp.               [TBD]      100%
 Corp. Secured     Secured Claims”) that are secured by valid, perfected
 Claims            and enforceable liens on property in which PG&E
                   Corp. has an interest or that are subject to setoff
                   pursuant to section 553 of the Bankruptcy Code.

                   Treatment: Each holder of an allowed Other PG&E
                   Corp. Secured Claim shall receive, in full and final
                   satisfaction, compromise, settlement, release, and
                   discharge of such allowed Other PG&E Corp. Secured
                   Claim, (i) retention of its Other PG&E Corp. Secured
                   Claim and any properly perfected and valid liens;
                   (ii) payment in full in cash, including the payment of
                   any interest allowed and payable under section 506(b)
                   of the Bankruptcy Code, on the Effective Date or as
                   soon thereafter as is reasonably practicable, or
                   (iii) treatment of such allowed Other PG&E Corp.
                   Secured Claim in any other manner that renders the
                   claim unimpaired, including reinstatement under
                   section 1124(2) of the Bankruptcy Code.

                   Voting: Unimpaired – deemed to accept.

 Class 3A:         Classification: Holders of claims arising under the
 PG&E Corp.        Second Amended and Restated Credit Agreement,                 Appx. $300   100%
 Unsecured         dated as of April 27, 2015, by and between PG&E                million
 Revolving         Corp. and Citibank, N.A., as administrative agent (the
 Credit Facility   “PG&E Corp. Unsecured Revolving Credit
 Claims            Agreement”), in the aggregate principal amount of up


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                 to $300 million (the “PG&E Corp. Unsecured
                 Revolving Credit Facility Claims”).

                 Treatment: On the Effective Date or as soon thereafter
                 as is reasonably practicable, each holder of an allowed
                 PG&E Corp. Unsecured Revolving Credit Facility
                 Claim shall receive, in full and final satisfaction,
                 compromise, settlement, release, and discharge of such
                 allowed PG&E Corp. Unsecured Revolving Credit
                 Facility Claim, cash in an amount equal to (i) the
                 outstanding principal and accrued and unpaid interest
                 as of the Petition Date under the PG&E Corp.
                 Unsecured Credit Agreement and (ii) accrued and
                 unpaid interest from the Petition Date through the
                 Effective Date at the contract rate.

                 Voting: Unimpaired – deemed to accept.

 Class 4A:       Classification: Holders of claims arising under the
 PG&E Corp.      Term Loan Agreement, dated as of April 16, 2018, by        Appx. $350   100%
 Unsecured       and between PG&E Corp. and Mizuho Bank, Ltd., as            million
 Term Loan       administrative agent (the “PG&E Corp. Unsecured
 Claims          Term Loan Credit Agreement”), in the aggregate
                 principal amount of $350 million (the “PG&E Corp.
                 Unsecured Term Loan Claims”).

                 Treatment: On the Effective Date or as soon thereafter
                 as is reasonably practicable, each holder of an allowed
                 PG&E Corp. Unsecured Term Loan Claim shall
                 receive, in full and final satisfaction, compromise,
                 settlement, release, and discharge of such allowed
                 PG&E Corp. Unsecured Term Loan Claim, cash in an
                 amount equal to (i) the outstanding principal and
                 accrued and unpaid interest as of the Petition Date
                 under the PG&E Corp. Unsecured Term Loan Credit
                 Agreement and (ii) accrued and unpaid interest from
                 the Petition Date through the Effective Date at the
                 contract rate.

                 Voting: Unimpaired – deemed to accept.

 Class 5A:       Classification: Holders of general unsecured claims
 PG&E Corp.      (other than Other PG&E Corp. Priority Claims, PG&E           [TBD]      100%
 General         Corp. Unsecured Revolving Credit Facility Claims and
 Unsecured       PG&E Corp. Unsecured Term Loan Claims) against
 Claims          PG&E Corp. (the “PG&E Corp. General Unsecured
                 Claims”)

                 Treatment: Each holder of an allowed PG&E Corp.
                 General Unsecured Claim shall receive, in full and final
                                                 5

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                 satisfaction, compromise, settlement, release, and
                 discharge of such allowed PG&E Corp. General
                 Unsecured Claim, cash in an amount equal to the
                 allowed PG&E Corp. General Unsecured Claim,
                 together with accrued and unpaid interest from the
                 Petition Date through the Effective Date at the
                 applicable contract rate or, in the absence of a contract
                 rate, the Federal Judgement Rate, on the earlier of (i)
                 the Effective Date or as soon thereafter as is reasonably
                 practicable or (ii) as soon as reasonably practicable
                 following the date such PG&E Corp. General
                 Unsecured Claim becomes an allowed PG&E Corp.
                 General Unsecured Claim.

                 Voting: Unimpaired – deemed to accept.

 Class 6A:       Classification: Claims held by the Utility or any non-      [TBD]      100%
 PG&E Corp.      Debtor affiliate of PG&E Corp. against PG&E Corp.
 Intercompany    (the “PG&E Corp. Intercompany Claims”).
 Claims
                 Treatment: All allowed PG&E Corp. Intercompany
                 Claims, if any, shall be reinstated, compromised or
                 cancelled at the election of the Debtors (with the
                 consent of the Ad Hoc Committee, not to be
                 unreasonably withheld), such that the PG&E Corp.
                 Intercompany Claims are treated in a tax-efficient
                 manner.

                 Voting: Unimpaired – deemed to accept.


 Class 7A:       Classification: Holders of outstanding preferred
 PG&E Corp.      interests in PG&E Corp. (the “PG&E Corp. Preferred          N/A        100%
 Preferred       Interests”).
 Interests
                 Treatment: Holders of allowed PG&E Corp. Preferred
                 Interests shall retain ownership of all PG&E Preferred
                 Interests in Reorganized PG&E Corp. (including any
                 associated liquidation preference).

                 Voting: Unimpaired – deemed to accept.

 Class 8A:       Classification: Holders of outstanding common
 PG&E Corp.      interests in PG&E Corp. (the “PG&E Corp. Common             N/A     [TBD]%
 Common          Interests”)
 Interests
                 Treatment: Holders of allowed PG&E Corp. Common
                 Interests shall retain ownership of all PG&E Corp.
                 Common Interests in Reorganized PG&E Corp. (the
                 “Reorganized PG&E Corp. Common Stock”),

                                                  6

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                   subject to dilution on account of the Reorganized
                   PG&E Corp. Common Stock issued pursuant to the
                   New Money Reorganized PG&E Corp. Common Stock
                   Issuance.

                   Voting: Impaired – entitled to vote.


                   Each holder of a PG&E Corp. Common Interest shall
                   have the opportunity to commit for its pro rata share of
                   5% of the PG&E Corp. New Money Investment (as
                   defined herein).




                                            Utility Claims

     Claim                   Classification/Treatment/Voting                   Estimated   Estimated
                                                                                Allowed        %
                                                                                Claims     Recovery
 Class 1B:         Classification: Holders of allowed claims against the
 Other Utility     Utility entitled to priority under section 507(a) of the     [TBD]        100%
 Priority Claims   Bankruptcy Code (other than DIP Financing Facility
                   Claims, Administrative Expense Claims and Priority
                   Tax Claims) (the “Other Utility Priority Claims”).

                   Treatment: Each holder of an allowed Other Utility
                   Priority Claim shall receive, in full and final
                   satisfaction, compromise, settlement, release, and
                   discharge of such allowed Other Utility Priority Claim,
                   (i) cash in an amount equal to such allowed Other
                   Utility Priority Claim on the Effective Date or as soon
                   as practicable thereafter, or (ii) such other treatment
                   consistent with the provisions of section 1129(a)(9) of
                   the Bankruptcy Code.

                   Voting: Unimpaired – deemed to accept.

 Class 2B:         Classification: Holders of claims (other than DIP
 Other Utility     Financing Facility Claims) that are secured by valid,        [TBD]        100%
 Secured Claims    perfected and enforceable liens on property in which
                   the Utility has an interest or that are subject to setoff
                   pursuant to section 553 of the Bankruptcy Code (the
                   “Other Utility Secured Claims”).

                   Treatment: Each holder of an allowed Other Utility
                   Secured Claim shall receive, in full and final
                   satisfaction, compromise, settlement, release, and
                   discharge of such allowed Other Utility Secured Claim,
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                   (i) retention of its Other Utility Secured Claim and any
                   properly perfected and valid liens, (ii) payment in full
                   in cash, including the payment of any interest allowed
                   and payable under section 506(b) of the Bankruptcy
                   Code, on the Effective Date or as soon thereafter as is
                   reasonably practicable, or (iii) treatment of such
                   allowed Other Utility Secured Claim in any other
                   manner that renders the Other Utility Secured Claim
                   unimpaired, including reinstatement under section
                   1124(2) of the Bankruptcy Code.

                   Voting: Unimpaired – deemed to accept.


 Class 3B:         Classification: Holders of claims arising under the
 Utility           Second Amended and Restated Credit Agreement,                  Appx.      100%
 Unsecured         dated as of April 27, 2015, by and between the Utility         $2.885
 Revolving         and Citibank, N.A., as administrative agent (the               billion
 Credit Facility   “Utility Unsecured Revolving Credit Agreement”),
 Claims            in the aggregate principal amount of up to $3 billion
                   (the “Utility Unsecured Revolving Credit Facility
                   Claims”).

                   Treatment: On the Effective Date or as soon thereafter
                   as is reasonably practicable, each holder of an allowed
                   Utility Unsecured Revolving Credit Facility Claim
                   shall receive, in full and final satisfaction, compromise,
                   settlement, release, and discharge of such allowed
                   Utility Unsecured Revolving Credit Facility Claim,
                   cash in an amount equal to (i) the outstanding principal
                   and accrued and unpaid interest as of the Petition Date
                   under the Utility Unsecured Revolving Credit
                   Agreement and (ii) accrued and unpaid interest from
                   the Petition Date through the Effective Date at the
                   contract rate.

                   Voting: Unimpaired – deemed to accept.

 Class 4B:         Classification: Holders of claims arising under the
 Utility           Term Loan Agreement, dated as of February 23, 2018,          Appx. $250   100%
 Unsecured         by and between the Utility and The Bank of Tokyo-             million
 Term Loan         Mitsubishi UFJ, Ltd., as administrative agent (the
 Claims            “Utility Unsecured Term Loan Agreement”), in the
                   aggregate principal amount of $250 million (the
                   “Utility Unsecured Term Loan Claims”).

                   Treatment: On the Effective Date or as soon thereafter
                   as is reasonably practicable, each holder of an allowed
                   Utility Unsecured Term Loan Claim shall receive, in
                   full and final satisfaction, compromise, settlement,
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                        release, and discharge of such allowed Utility
                        Unsecured Term Loan Claim, cash in an amount equal
                        to (i) the outstanding principal and accrued and unpaid
                        interest as of the Petition Date under the Utility
                        Unsecured Term Loan Agreement and (ii) accrued and
                        unpaid interest from the Petition Date through the
                        Effective Date at the contract rate.

                        Voting: Unimpaired – deemed to accept.




    Class 5B:           Classification: Holders of claims arising under the
    Short-Term          notes (or the applicable indenture relating thereto) (the         Appx. $1.75         100%
    Utility             “Short-Term Utility Unsecured Notes” and the                        billion
    Unsecured           indentures, the “Short-Term Utility Unsecured Notes
    Notes Claims        Indentures”) maturing on or before December 1, 2022
                        (the “Short-Term Utility Unsecured Notes Claims”),
                        identified in Schedule 2 hereto.4

                        Treatment: On the Effective Date or as soon thereafter
                        as is reasonably practicable, each holder of an allowed
                        Short-Term Utility Unsecured Notes Claim shall
                        receive, in full and final satisfaction, compromise,
                        settlement, release, and discharge of such allowed
                        Short-Term Utility Unsecured Notes Claim, cash in an
                        amount equal to the sum of (i) outstanding principal
                        and accrued and unpaid interest as of the Petition Date
                        at the contract rate under the applicable Short-Term
                        Utility Unsecured Notes or Short-Term Utility
                        Unsecured Notes Indentures, (ii) accrued and unpaid
                        interest from the Petition Date through the Effective
                        Date at the contract rate under the applicable Short-
                        Term Utility Unsecured Notes or Short-Term Utility
                        Unsecured Notes Indentures and (iii) any prepayment
                        premium, makewhole or other similar call protection
                        under the applicable Short-Term Utility Unsecured
                        Notes or Short-Term Utility Unsecured Notes
                        Indentures.

                        Voting: Unimpaired – deemed to accept.




4
    If required, the Plan will provide subclasses for claims arising from each separate issuance of the Short-Term Utility
    Unsecured Notes.
                                                             9

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    Class 6B:           Classification: Holders of claims arising under any
    Long-Term           notes (or the applicable indenture relating thereto) (the        Appx. $15.8         100%
    Utility             “Long-Term Utility Unsecured Notes” and the                        billion
    Unsecured           indentures, the “Long-Term Utility Unsecured Notes
    Notes Claims        Indentures”) maturing on or after January 1, 2023 (the
                        “Long-Term Utility Unsecured Notes Claims”),
                        identified in Schedule 3 hereto.5

                        Treatment: On the Effective Date or as soon thereafter
                        as is reasonably practicable, all Long-Term Utility
                        Unsecured Notes shall be reinstated in full. All Long-
                        Term Utility Unsecured Notes Claims relating to (i)
                        accrued and unpaid interest as of the Petition Date and
                        (ii) accrued and unpaid interest from the Petition Date
                        through the Effective Date, shall be paid in full in cash
                        at the contract rate under the applicable Long-Term
                        Utility Unsecured Notes or Long-Term Utility
                        Unsecured Notes Indentures.

                        Voting: Unimpaired – deemed to accept.
    Class 7B:           Classification: Holders of claims arising under (a) the
    Utility             Pollution Control Bonds issued by the California $863 million                        100%
    Pollution           Pollution Control Financing Authority and the
    Control Bond-       California Infrastructure and Economic Development
    Related Claims      Bank (the “Utility Pollution Control Bonds”) or (b)
                        related reimbursement obligations from certain letter of
                        credit facilities (the “PCB Revolving Facilities”) or
                        reimbursement agreements with the Utility (the
                        “Reimbursement Agreements”) in the aggregate
                        outstanding principal amount of $863 million (the
                        “Utility Pollution Control Bond-Related Claims”).

                        Treatment: On the Effective Date or as soon thereafter
                        as is reasonably practicable, each holder of an allowed
                        Utility Pollution Control Bond-Related Claim shall
                        receive, in full and final satisfaction, compromise,
                        settlement, release, and discharge of such allowed
                        Utility Pollution Control Bond-Related Claim, cash in
                        an amount equal to the sum of (i) outstanding principal
                        and accrued and unpaid interest as of the Petition Date
                        at the contract rate under the applicable Utility
                        Pollution Control Bond, PCB Revolving Facility or
                        Reimbursement Agreement, and (ii) accrued and
                        unpaid interest from the Petition Date through the
                        Effective Date at the contract rate under the applicable
                        Utility Pollution Control Bond, PCB Revolving
                        Facility, or Reimbursement Agreement.

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    If required, the Plan will provide subclasses for claims arising from each separate issuance of the Long-Term Utility
    Unsecured Notes.
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                  Voting: Unimpaired – deemed to accept.



 Class 8B:        Classification: Claims held by the PG&E Corp. or any          [TBD]      100%
 Utility          non-Debtor affiliate of PG&E Corp. against the Utility
 Intercompany     (the “Utility Intercompany Claims”).
 Claims
                  Treatment: All allowed Utility Intercompany Claims,
                  if any, shall be reinstated, compromised or cancelled at
                  the election of the Debtors (with the consent of the Ad
                  Hoc Committee, not to be unreasonably withheld), such
                  that the Utility Intercompany Claims are treated in a
                  tax-efficient manner.

                  Voting: Unimpaired – deemed to accept.

 Class 9B: Fire   General Procedures: With respect to all unsecured
 Victim Claims    claims arising out of the prepetition Northern               $Unknown   Unknown
                  California wildfires and the Ghost Ship fire, including,                   %
                  but not limited to, any accrued and unasserted
                  unsecured claims as of the Effective Date related to the
                  Fires (as defined below), of individuals, businesses,
                  insurance subrogation claimants, nonprofits, charities,
                  and any federal, state and local entities (including
                  governmental and regulatory authorities and agencies)
                  for damages, losses, fines, penalties, punitive and/or
                  exemplary damages, restitution, reimbursement,
                  attorney’s fees, costs and/or interest, declaratory and/or
                  injunctive relief (the “Fire Claims”), the aggregate
                  maximum amount of consideration to be paid in respect
                  of all Fire Claims will be the Aggregate Fire
                  Consideration.

                  The Reorganized Debtors will establish the Fire Victim
                  Claims Trust which will be funded with the Aggregate
                  Fire Victim Consideration and the assignment of rights,
                  claims, and causes of action as described in the Means
                  for Implementation section, including rights under
                  certain 2015/2016 insurance policies of the Debtors.
                  Notwithstanding any other provision herein, the rights
                  in and/or proceeds of the Debtors’ 2016 insurance
                  policies that provide coverage to the Debtors in
                  connection with the Ghost Ship fire shall be transferred
                  to the Fire Victim Claims Trust solely for the benefit of
                  victims of the Ghost Ship fire and shall not be used to
                  pay any other allowed claims; provided, however, the
                  parties shall work together to ensure that coverage
                  under the Debtors’ 2016 insurance policies shall be

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                 available to the Reorganized Debtors to pay claims not
                 related to Ghost Ship.

                 The terms and conditions of the Plan and Aggregate
                 Fire Victim Consideration provided to holders of Fire
                 Claims represent a full and final settlement of the Fire
                 Claims, once the Plan is approved, without regard to
                 whether the allowed and/or filed amount of Fire Claims
                 are in excess of or less than the amount of Aggregate
                 Fire Victim Consideration.

                 Fire Victim Claims – Any Fire Claim that is not a
                 Subrogation Fire Claim (as defined below) or
                 Governmental Fire Claim (as defined below).

                 Treatment: On the Effective Date, each holder of a Fire
                 Victim Claim that has been allowed in accordance with
                 the procedures for allowance and payment of such
                 claims as set forth in the Means for Implementation
                 section (an “Allowed Fire Victim Claim”) shall be
                 entitled to a claim against the Fire Victim Claims Trust
                 in full and final satisfaction, compromise, settlement,
                 release, and discharge of such claim.

                 Treatment under Class 9B shall exclude Subrogation
                 Fire Claims and Governmental Fire Claims which shall
                 be treated in Classes 10B and 11B respectively.

                 Voting: Impaired – entitled to vote.

 Class 10B:      General Procedures: The Reorganized Debtors will $11.0 billion         Unknown
 Subrogated      establish the Subrogation Claims Trust which will be                      %
 Fire Claims     funded with the Aggregate Subrogation Consideration.

                 The terms and conditions of the Plan and Aggregate
                 Subrogation Consideration provided to holders of
                 Subrogation Fire Claims (as defined below) represent a
                 full and final settlement of the Subrogation Fire Claims,
                 once the Plan is approved, without regard to whether
                 the allowed and/or filed amount of Subrogation Fire
                 Claims are in excess of or less than the amount of
                 Aggregate Subrogation Consideration.

                 Subrogation Fire Claims – Any Fire Claim arising by
                 way of subrogation under applicable law or contract on
                 account of amounts incurred (paid and reserved) by an
                 insurer under and pursuant to the terms and coverage
                 provisions of a property & casualty insurance policy (a
                 “Subrogation Fire Claim”).


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                 Treatment: On the Effective Date, each holder of a
                 Subrogation Fire Claim that has been allowed in
                 accordance with the procedures for allowance and
                 payment of such claims as set forth in the Means for
                 Implementation section (an “Allowed Subrogation
                 Fire Claim”) shall be entitled to a claim against the
                 Subrogation Claims Trust in full and final satisfaction,
                 compromise, settlement, release, and discharge of such
                 claim. On the Effective Date, as part of the treatment
                 afforded hereunder to the holders of Allowed
                 Subrogation Fire Claims, the Reorganized Debtors
                 shall pay or reimburse the members of the Ad Hoc
                 Subrogation Group for the reasonable, documented and
                 contractual professional fees and expenses of (i)
                 Willkie Farr & Gallagher LLP, (ii) Rothschild & Co.,
                 (iii) Diemer & Wei LLP, (iv) Kekst and Company
                 Incorporated d/b/a Kekst CNC and (v) Wilson Public
                 Affairs up to an aggregate amount of $55 million
                 (which shall include success fees, transaction fees or
                 similar fees).

                 Voting: Impaired – entitled to vote.

 Class 11B:      General Procedures: same as apply to Class 9B above. $Unknown           Unknown
 Governmental                                                                               %
 Fire Claims     The terms and conditions of the Plan and Aggregate
                 Fire Victim Consideration provided to holders of
                 Allowed Governmental Fire Claims represent a full and
                 final settlement of the Allowed Governmental Fire
                 Claims, once the Plan is approved, without regard to
                 whether the allowed and/or filed amount of Allowed
                 Governmental Fire Claims are in excess of or less than
                 the amount of Aggregate Fire Victim Consideration.

                 Governmental Fire Claims – Any Fire Claim arising
                 in any way from and asserted by a federal, state or local
                 government entity under applicable law or contract.

                 Treatment: On the Effective Date, each holder of a
                 Governmental Fire Claim that has been allowed in
                 accordance with the procedures for allowance and
                 payment of such claims as set forth in the Means for
                 Implementation section (an “Allowed Governmental
                 Fire Claim”) shall be entitled to a claim against the
                 Fire Victim Claims Trust in full and final satisfaction,
                 compromise, settlement, release, and discharge of such
                 allowed claim, provided, however, that the Public
                 Entities’ claims shall be satisfied in full by a $1 billion
                 payment from the Fire Victims Claims Trust into a


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                 trust account as provided for by the Public Entity Plan
                 Support Agreements and this Term Sheet.
                 Voting: Impaired – entitled to vote.

 Class 12B:      Classification: Holders of general unsecured claims
 Other Utility   (other than Other Utility Priority Claims, Utility           [TBD]     100%
 General         Unsecured Revolving Credit Facility Claims, Utility
 Unsecured       Unsecured Term Loan Claims, Short-Term Utility
 Claims          Unsecured Notes Claims, Long-Term Utility
                 Unsecured Notes Claims, Fire Claims, and Utility
                 Workers’ Compensation Claims) against the Utility
                 (the “Other Utility General Unsecured Claims”).

                 Treatment: Each holder of an allowed Other Utility
                 General Unsecured Claim shall receive, in full and final
                 satisfaction, compromise, settlement, release, and
                 discharge of such allowed Other Utility General
                 Unsecured Claim, cash in an amount equal to the
                 allowed Other Utility General Unsecured Claim,
                 together with accrued and unpaid interest from the
                 Petition Date through the Effective Date at the
                 applicable contract rate or, in the absence of a contract
                 rate, the Federal Judgement Rate, on the earlier of
                 (i) the Effective Date or as soon thereafter as is
                 reasonably practicable or (ii) the date such Other Utility
                 General Unsecured Claim becomes an allowed Other
                 Utility General Claim or as soon thereafter as is
                 reasonably practicable.

                 Voting: Unimpaired – deemed to accept.
 Class 13B:      Classification: Holders of claims against the Utility by
 Utility         employees of the Utility for the payment of workers’         [TBD]     100%
 Workers’        compensation benefits under applicable law (the
 Compensation    “Utility Workers’ Compensation Claims”).
 Claims
                 Treatment: Each allowed Utility Workers’
                 Compensation Claim shall be satisfied in full in the
                 ordinary course of business at such time and in such
                 manner as the Utility is obligated to satisfy such Utility
                 Workers’ Compensation Claim under applicable law.

                 Voting: Unimpaired – deemed to accept.

 Class 14B:      Classification: Holders of outstanding preferred
 Utility         Interests in the Utility (the “Utility Preferred             N/A       100%
 Preferred       Interests”)
 Interests
                 Treatment: Holders of allowed Utility Preferred
                 Interests shall retain ownership of all Utility Preferred


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                 Interests in the Reorganized Utility (including any
                 associated liquidation preference).

                 Voting: Unimpaired – deemed to accept.

 Class 15B:      Classification: PG&E Corp. as holder of all
 Utility         outstanding common Interests in the Utility (the                N/A           100%
 Common          “Utility Common Interests”).
 Interests
                 Treatment: The Reorganized PG&E Corp., as holder
                 of the Utility Common Interests, shall retain ownership
                 of all Utility Common Interests in the Reorganized
                 Utility.

                 Voting: Unimpaired – deemed to accept.




                                 MEANS FOR IMPLEMENTATION
 Fire Victim     On the Effective Date, the Reorganized Debtors will establish the Fire Victim Claims
 Claims Trust    Trust. The Fire Victim Claims Trust will be funded with the Aggregate Fire Victim
                 Consideration including the assignment of rights, claims, and causes of action as
                 described below in the Means for Implementation section, including rights under
                 certain 2015/2016 insurance policies of the Debtors.

                 As part of the Aggregate Fire Victim Consideration, the Debtors shall also assign to
                 the Fire Victim Claims Trust any and all rights, claims, causes of action, and defenses
                 related thereto related directly or indirectly to any of the prepetition fires listed in
                 Schedule 1 (the “Fires”) that the Debtors may have against any third party, including,
                 without limitation, against vendors, suppliers, third party contractors and consultants
                 (including those who provided services regarding PGE’s electrical system, system
                 equipment, inspection and maintenance of the system, and vegetation management),
                 and current and former directors and officers of the Debtors (to be mutually agreed
                 upon by the TCC and the Ad Hoc Committee and included as an annex to the Plan).

                 The Fire Victim Claims Trust shall be administered by a trustee (the “Fire Victim
                 Claims Trustee”) and governed by an oversight committee (the “Fire Victim
                 Claims Trust Oversight Committee”) selected by the TCC. An agreement (the
                 “Fire Victim Claims Trust Agreement”) shall establish and set forth the provisions
                 of the Fire Victim Claims Trust. The Fire Victim Claims Trust Agreement shall be
                 in form and substance reasonably acceptable to the TCC.

                 The Fire Victim Claims Trustee shall be selected by the TCC. The Fire Victim
                 Claims Trust Oversight Committee shall consist of three members, which shall be
                 selected by TCC.

                 The Fire Victim Claims Trustee and the Fire Victim Claims Trust Oversight
                 Committee shall have the authority to retain any advisors for the purpose of carrying
                 out their respective duties under the Fire Victim Claims Trust Agreement.
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                 Allowance of Claims: The Fire Victim Claims Trust Agreement will provide
                 procedures for the holders of Fire Victim Claims and Allowed Governmental Fire
                 Claims to resolve their claims, at their respective option, via a settlement matrix or
                 allowed claim requirements and procedures approved by the TCC and the Bankruptcy
                 Court as part of plan confirmation, including mediation, streamlined binding
                 arbitration procedures, or a jury trial to the extent a holder of Fire Victim Claims is
                 entitled to such a trial. The Bankruptcy Court would retain jurisdiction over the Fire
                 Victim Claims Trust, Fire Victim Claims Trustee, Fire Victim Claims Oversight
                 Committee, and administration of the Fire Victim Claims Trust, subject to the terms
                 of the Fire Victim Claims Trust Agreement, until the Fire Victim Claims Trust is
                 terminated.

                 Payment of Claims and Reserve: Given that the amount of the Fire Victim Claims
                 Trust is limited, the Fire Victim Claims Trustee shall provide for an appropriate
                 payment reserve, in such trustee’s reasonable business judgment, to ensure equal
                 payment for all holders of Fire Victim Claims in accordance with applicable law. The
                 Fire Victim Claims Trustee shall release reserves only when appropriate and it is clear
                 that claimants will receive equitable distributions as described below.

                 Unless otherwise ordered by the Bankruptcy Court, in order to maintain an
                 appropriate reserve, the Fire Victim Claims Trustee shall pay one or more interim
                 distributions on Allowed Fire Victim Claims, reserving a final distribution on such
                 claims until the end of Fire Victim Claims Trust administration after equal percentage
                 payments have been made on Allowed Fire Victim Claims.

                 In the event that there are remaining funds after payment of all claims of the Fire
                 Victim Claims Trust, the excess funds remaining in the Fire Victim Claims Trust
                 shall be paid to the Wildfire Fund.
 Subrogation     On the Effective Date, the Reorganized Debtors will establish the Subrogation Claims
 Claims Trust    Trust. The Subrogation Claims Trust will be funded with the Aggregate Subrogation
                 Consideration.

                 Members of the Ad Hoc Group of Subrogation Claim Holders (the “Ad Hoc
                 Subrogation Group”) will enter into a separate agreement (the “Allocation
                 Agreement”), which intercreditor agreement shall govern the distribution of the
                 Aggregate Subrogation Consideration to holders of Subrogation Fire Claims in
                 accordance with the relevant recovery percentages assigned to individual wildfires or
                 groups of wildfires. The Reorganized Debtors will not be party to the Allocation
                 Agreement and will not have any input regarding the terms thereof and shall not be
                 bound or otherwise prejudiced by the Allocation Agreement or any terms thereof.

                 The Subrogation Claims Trust shall be administered by a trustee (the “Subrogation
                 Claims Trustee”) selected by the Ad Hoc Subrogation Group. An agreement (the
                 “Subrogation Claims Trust Agreement”) shall establish and set forth the provisions
                 of the Subrogation Claims Trust. The Subrogation Claims Trust Agreement shall be
                 in form and substance reasonably acceptable to the Ad Hoc Subrogation Group. The
                 Subrogation Claims Trustee shall have the authority to retain any advisors for the
                 purpose of carrying out their respective duties under the Subrogation Claims Trust
                 Agreement.
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                 On the Effective Date, an advisory board (the “Subrogation Claims Trust Advisory
                 Board”) shall be appointed to consult with and advise the Subrogation Claims
                 Trustee. The Subrogation Claims Trust Advisory Board shall consist of three (3)
                 members selected by holders of Subrogation Claims as set forth in the Subrogation
                 Claims Trust Agreement. The Subrogation Trust Advisory Board shall, as and when
                 requested by the Subrogation Claims Trustee, or as otherwise required under the Plan,
                 the Confirmation Order, or the Subrogation Claims Trust Agreement, consult with
                 and advise the Subrogation Claims Trustee as to the administration and management
                 of the Subrogation Claims Trust in accordance with the terms of the Plan, the
                 Confirmation Order and/or the Subrogation Claims Trust Agreement.

                 On the Effective Date, the Subrogation Claims Trust shall immediately pay holders
                 of Subrogation Fire Claims their allocable share for Subrogation Fire Claims on
                 account of amounts paid to insureds prior to the Effective Date (the “Initial
                 Subrogation Claims Trust Distribution”).

                 The remainder of the Aggregate Subrogation Consideration that is not part of the
                 Initial Subrogation Claims Trust Distribution (i.e., the portion of the recovery on
                 account of Subrogation Fire Claims arising from reserved IBNR amounts to
                 individual insureds as of the Effective Date) (the “Subrogation Recovery Reserve”)
                 shall be held by the Subrogation Claims Trust for the benefit of holders of
                 Subrogation Fire Claims. The Subrogation Claims Trust shall periodically pay
                 subrogation claimants their allocated share for Subrogation Fire Claims on account
                 of amounts paid to insureds after the Effective Date in accordance with the Allocation
                 Agreement. For the avoidance of doubt, to the extent certain fires are over-reserved,
                 and other fires are under-reserved, the Subrogation Claims Trust shall have the ability
                 to reallocate funds to facilitate each subrogation claim recovering the applicable fire
                 by fire payment percentage.

                 Upon the earlier of (i) 5 years after the Effective Date, or (ii) the Subrogation Claims
                 Trustee’s reasonable determination that no more reserves will be paid to insureds,
                 any remaining Subrogation Recovery Reserve shall be distributed pro rata to holders
                 of Subrogation Fire Claims in accordance with the Allocation Agreement.

 Channeling      The Fire Victim Claims Trust shall be the sole source of recovery for the Fire Claims
 Injunction      (other than Subrogation Fire Claims) against the Debtors, and the Subrogation Claims
                 Trust shall be the sole source of recovery for the Subrogation Fire Claims against the
                 Debtors. The Plan and order confirming the Plan (the “Confirmation Order”) shall
                 (i) channel all Fire Claims (other than Subrogation Fire Claims) against the Debtors
                 to the Fire Victim Claims Trust and (ii) channel all Subrogation Fire Claims against
                 the Debtors to the Subrogation Claims Trust for payment in each case in accordance
                 with the terms and procedures provided therein. The Plan and the Confirmation Order
                 shall bar and enjoin holders of Fire Claims from seeking to recover on account of
                 their Fire Claims against the Reorganized Debtors or any assets of the Reorganized
                 Debtors, except with respect to any and all rights under and the proceeds of the
                 Debtors’ insurance policies that provide coverage for the Fires (the “Channeling
                 Injunction”).



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 Contributions     On the Effective Date, the Debtors will contribute $5.0 billion, which amount consists
 to the Wildfire   of both the Debtors’ initial and first annual contributions, to the Fund in order to
 Fund              address future wildfire liability.

                                    SOURCES OF PLAN FUNDING
 Insurance         The parties shall work in good faith to determine whether and how to treat the
 Rights            Debtors’ insurance policies consistent with this term sheet.

                   Up to $2.209 billion of the proceeds of 2017/2018 insurance policies of the Debtors
                   will be used as a source of cash funding under the Plan.
 Cash on Hand      $[●] billion of the Debtors’ cash on hand on the Effective Date.


 New Money         On the Effective Date, Reorganized PG&E Corp. shall issue shares of Reorganized
 Investment in     PG&E Corp. Common Stock (the “New Money Reorganized PG&E Corp.
 PG&E Corp.        Common Stock Issuance”) to the new money investors identified below (the
                   “PG&E Corp. New Money Investor Group”), in exchange for $15,512,332,599 in
                   cash (the “PG&E Corp. New Money Investment”).

                   The commitments for the PG&E Corp. New Money Investment shall be provided as
                   follows:

                       1. 50% by the consortium of large Utility bondholders identified in Schedule 4
                          attached hereto (the “PG&E Corp. New Money Commitment Group”);
                       2. 45% by the members of the Ad Hoc Committee; and
                       3. 5% by the holders of PG&E Common Interests in Class 8A.

                   To the extent that the members of the Ad Hoc Committee and/or holders of PG&E
                   Common Interests in Class 8A do not provide the commitments described above for
                   the PG&E Corp. New Money Investment, the PG&E Corp. New Money Commitment
                   Group will provide commitments covering any such remaining amount.

 New PG&E          On the Effective Date, Reorganized PG&E Corp. shall issue $5.75 billion in new
 Corp. Senior      senior unsecured notes (the “New PG&E Corp. Senior Unsecured Notes”) to the
 Unsecured         new money investors identified below (the “New PG&E Corp. Senior Unsecured
 Notes             Notes Investor Group”) in exchange for $5.75 billion in cash (the “New PG&E
                   Corp. Senior Unsecured Notes Investment”). The New PG&E Corp. Senior
                   Unsecured Notes shall have terms materially consistent with the terms contained in
                   the term sheet (the “New PG&E Corp. Senior Unsecured Notes Term Sheet”)
                   attached hereto as Exhibit 1.

                   The commitments for the New PG&E Corp. Senior Unsecured Notes Investment
                   shall be provided as follows:

                       1. 50% by a consortium of large Utility bondholders identified in Schedule 5
                          attached hereto (the “New PG&E Corp. Senior Unsecured Notes
                          Commitment Group”);
                       2. 50% by the members of the Ad Hoc Committee.


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                 To the extent that the members of the Ad Hoc Committee do not provide the
                 commitments described above for the New PG&E Corp. Senior Unsecured Notes
                 Investment, the PG&E Corp. New Money Commitment Group will provide
                 commitments covering any such remaining amount.
 New Utility     The Debtors shall use commercially reasonable efforts to have the Reorganized
 Secured Notes   Utility issue, on the Effective Date, $7,978,610,000 in new secured notes
                 (collectively, the “New Utility Secured Notes”) to third party investors in exchange
                 for $7,978,610,000 in cash, with the proceeds being used to pay down all existing
                 Utility Unsecured Term Loan Claims, Utility Unsecured Revolving Credit Facility
                 Claims and Short-Term Utility Unsecured Notes Claims. The New Utility Secured
                 Notes issued to third party investors shall have terms that are acceptable to the Ad
                 Hoc Committee and at least as favorable to the Reorganized Utility as the terms
                 contained in the term sheet (the “New Utility Secured Notes Term Sheet”) attached
                 hereto as Exhibit 2.

                 In the event that the Reorganized Utility fails to issue all or a portion of the New
                 Utility Secured Notes to third party investors on the Effective Date after using
                 commercially reasonable efforts to do so as described above, on the Effective Date,
                 the Reorganized Utility shall issue New Utility Secured Notes (on terms materially
                 consistent with those contained in the New Utility Secured Notes Term Sheet) in the
                 amount of any such shortfall to the new money investors identified below (the
                 “Reorganized Utility Secured Notes Investor Group” and together with the PG&E
                 Corp. New Money Investor Group and the New PG&E Corp. Senior Unsecured Notes
                 Investor Group, the “Investor Group”) (on pro rata basis as described in the
                 Amended and Restated Commitment Letter to be executed in connection with this
                 Plan Term Sheet (the “Commitment Letter”)) in exchange for the equivalent amount
                 of cash (the “New Utility Secured Notes Investment”).

                 The commitments for the New Utility Secured Notes Investment shall be provided as
                 follows:

                     1. 50% by a consortium of large Utility bondholders identified in Schedule 6
                        attached hereto (the “New Utility Secured Notes Commitment Group”);
                     2. 50% by the members of the Ad Hoc Committee.

                 To the extent that the members of the Ad Hoc Committee do not provide the
                 commitments described above for the New Utility Secured Notes Investment, the
                 PG&E Corp. New Money Commitment Group will provide commitments covering
                 any such remaining amount.

                 The PG&E Corp. New Money Commitment Group and the New PG&E Corp. Senior
                 Unsecured Notes Commitment Group agree to use commercially reasonable efforts
                 to structure the New Money Reorganized PG&E Corp. Common Stock Issuance and
                 the New PG&E Corp. Senior Unsecured Notes in a manner that will facilitate the
                 issuance of the New Utility Secured Notes on customary market terms, including with
                 respect to the fees payable by the Utility in connection therewith.




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 Backstop        In consideration of the agreement to backstop the commitments described above, the
 Commitment      following backstop commitment fees (the “Backstop Commitment Fees”) shall be
 Fees            payable:

                     1. 3.0% of the PG&E Corp. New Money Investment to the PG&E Corp. New
                        Money Commitment Group; and
                     2. 1.5% of the New PG&E Corp. Senior Unsecured Notes Investment to the
                        New PG&E Corp. Senior Unsecured Notes Commitment Group.
                     3. 1.5% of the maximum amount of New Utility Secured Notes issuable
                        pursuant to this term sheet ($7,978,610,000) to the New Utility Secured
                        Notes Commitment Group.

                 The Backstop Commitment Fees shall be payable by Reorganized PG&E Corp. in
                 cash or Reorganized PG&E Corp. Common Stock at the election of each backstop
                 commitment party.



                                 REGULATORY REQUIREMENTS

 FERC            Prior to the Effective Date, the Debtors and Reorganized Debtors shall receive, as
                 necessary or appropriate, all of the following approvals from the Federal Energy
                 Regulatory Commission (“FERC”) (collectively, the “FERC Approvals”). The
                 Debtors and Reorganized Debtors shall receive a final order, satisfactory to the Ad
                 Hoc Committee, from the FERC granting authorization under Section 203 of the
                 Federal Power Act (the “FPA”) to implement the Plan. In addition, if the
                 reorganization results in the transfer of FERC-jurisdictional natural gas assets or
                 hydroelectric assets, the Debtors and Reorganized Debtors shall receive, as
                 necessary or appropriate, approval satisfactory to the Ad Hoc Committee under
                 Section 7 of the Natural Gas Act (“NGA”) and FPA Section 8, respectively, to
                 transfer those assets. Prior to the Effective Date, the Debtors and Reorganized
                 Debtors shall also receive, if and to the extent necessary or appropriate, a final order
                 from FERC, satisfactory to the Ad Hoc Committee granting authorization under
                 Section 204 of the FPA to issue new securities as provided under the Plan. Finally,
                 prior to the Effective Date, the Debtors and Reorganized Debtors shall receive
                 FERC acceptance, satisfactory to the Ad Hoc Committee, with respect to any new
                 or modified service tariffs under the FPA or NGA necessary or appropriate to
                 implement the Plan, and shall receive approval or acceptance under FPA Section
                 305 with respect to the creation of any interlocking directorates.

 CPUC            Prior to the Effective Date the Debtors and Reorganized Debtors shall receive all
                 necessary or appropriate approvals, authorizations and final orders from the
                 California Public Utilities Commission (“CPUC”) required to implement the Plan,
                 to participate in the Wildfire Fund, and to be eligible for the presumption of
                 reasonableness provided in Public Utilities Code section 451.1, in each case
                 satisfactory to the Ad Hoc Committee, including, but not limited to: (a) successful
                 conclusion of the ROE/Cap Structure Proceedings (as defined below); (b) approval
                 of transfer of control over the Utility and any changes to PG&E’s corporate
                 structure and authorizations for the Utility to operate as a utility, if required; (c)
                 resolution of claims for monetary fines or penalties under the California Public

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                          Utilities Code for conduct prior to the Petition Date, (d) approval (or exemption
                          from approval) of the overall financing structure and securities to be issued under
                          the Plan; (e) approvals and determinations pursuant AB 1054 necessary for
                          participation in the Wildfire Fund, including, but not limited to, a determination that
                          the Plan fully and finally compensates ratepayers in full compliance with Public
                          Utilities Code section 3292(b)(1)(E) throughout the existence of the Wildfire Fund,
                          and (f) approval that the Plan, including in regards to compensation for executive
                          officers, complies with the requirements of Public Utilities Code section 8389
                          (collectively, the “CPUC Determinations”).
                          The “ROE/Cap Structure Proceeding” shall mean the proceeding(s) before the
                          CPUC governing the authorized return on equity and regulated capital structure of
                          the Utility. A successful conclusion of the ROE/Cap Structure Proceeding for
                          purposes of this proceeding shall mean, either (x) a determination that the current
                          authorized capital structure and a minimum of 10.25% ROE shall be fixed for three
                          (3) years, or (y) a mutually agreed deferral of the Utility’s 2020 general rate case
                          and/or cost of capital proceeding before the CPUC for a period of 24 months from
                          the Effective Date of the Plan, with the current authorized capital structure and/or a
                          minimum of 10.25% ROE, as relevant, to remain unchanged until expiration of the
                          deferral period.

    NRC                   If required, prior to the Effective Date, the Debtors and Reorganized Debtors shall
                          receive approval from the Nuclear Regulatory Commission for the transfer of the
                          license for the Diablo Canyon Power Plant (the “NRC Approval”).

                                                      OTHER TERMS

    Releases              The Plan shall provide for customary release of all claims and causes of action
                          against (i) the Debtors, (ii) each of the members of the Ad Hoc Committee, (iii) the
                          Creditors’ Committee and each of its members, (iv) the TCC and each of its
                          members, (v) the Fire Victim Claims Trustee, (vi) the Fire Victim Claims Trust
                          Oversight Committee and each of its members, (vii) the Ad Hoc Subrogation Group
                          and each of its members, (viii) the Subrogation Claims Trustee, (ix) the Subrogation
                          Claims Trust Advisory Board and each of its members, and (x) with respect to each
                          of the foregoing entities in clauses (i) through (ix), such entities’ Related Persons6
                          (each such entity in foregoing clauses (i) through (x), a “Released Party”).
                          Releases shall be provided by (i) the Debtors, (ii) each of the members of the Ad
                          Hoc Committee, (iii) the Creditors’ Committee and each of its members, (iv) the
                          TCC and each of its members, (v) the Fire Victim Claims Trustee, (vi) the Fire
                          Victim Claims Trust Oversight Committee and each of its members, (vii) the Ad
                          Hoc Subrogation Group and each of its members, (viii) the Subrogation Claims
                          Trustee, (ix) the Subrogation Claims Trust Advisory Board and each of its members
                          and (x) with respect to each of the foregoing entities in clauses (i) through (ix), such


6
    “Related Persons” with respect to an entity shall mean that entity’s current and former affiliates, and such entities’
     and their current and former affiliates’ current and former directors, managers, officers, equity holders (regardless
     of whether such interests are held directly or indirectly), predecessors, successors and assigns, subsidiaries, and each
     of their respective current and former equity holders, officers, directors, managers, principals, members, employees,
     agents, advisory board members, financial advisors, partners, attorneys, accountants, investment bankers,
     consultants, representatives, and other professionals, each in their capacity as such.
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                 entities’ Related Persons, and (x) all holders of claims and interests against the
                 Debtors, as provided in more detail below (each such entity in foregoing clauses (i)
                 through (x), a “Releasing Party”).
                 The releases to be set forth in the Plan shall include consensual releases from each
                 holder of a claim or interest (as set forth in the “Plan Treatment of PG&E Corp. and
                 Utility Claims” section above) that (i) votes to accept the Plan or (ii) is deemed to
                 accept the Plan, of each Released Party from any claims or causes of action,
                 including any derivative claims asserted or assertable on behalf of any of the
                 Debtors, that the Debtors, the Reorganized Debtors, or their Estates or affiliates or
                 that each other Releasing Party, as applicable, would have been legally entitled to
                 assert in its own right (whether individually or collectively) or on behalf of the
                 holder of any claims or interest or other entity, based on or relating to, or in any
                 manner arising from, in whole or in part, the Debtors, the Debtors’ capital structure,
                 the assertion or enforcement of rights and remedies against the Debtors, the
                 Debtors’ in- or out-of-court restructuring discussions, intercompany transactions
                 between or among the Debtors and/or their Affiliates, the purchase, sale, or
                 rescission of the purchase or sale of any security of the Debtors or the Reorganized
                 Debtors, the subject matter of, or the transactions or events giving rise to, any claim
                 or interest that is treated in the Plan, the business or contractual arrangements
                 between any Debtor and any Released Party, the Chapter 11 Cases and related
                 adversary proceedings, the formulation, preparation, dissemination, negotiation,
                 filing, or consummation of the Plan, the disclosure statement to the Plan, or any
                 restructuring transaction, contract, instrument, release, or other agreement or
                 document created or entered into in connection with the foregoing, or upon any act
                 or omission, transaction, agreement, event or other occurrence taking place on or
                 before the Effective Date.
                 In addition, the Plan shall provide for consensual mutual releases of all claims and
                 causes of action by and between each holder of a Fire Victim Claim (i) who votes to
                 accept the Plan or (ii) is deemed to accept the Plan and each holder of a Subrogation
                 Fire Claim (i) who votes to accept the Plan or (ii) is deemed to accept the Plan,
                 based on or relating to, or in any manner arising from, the fires described in
                 Schedule 1.
                 The Plan shall provide for consensual releases to the Released Parties of all claims
                 and causes of action that could be asserted against, or in any way relating to, or
                 arising out of (i) any Debtor, the Reorganized Debtors, their businesses, or their
                 property, (ii) the Chapter 11 Cases, (iv) the formulation, preparation, negotiation,
                 dissemination, implementation, administration, or consummation of the Plan, or (v)
                 any other act or omission in connection with the Chapter 11 Cases.

 Exculpation     The Plan shall provide certain customary exculpation provisions, which shall
                 include a full exculpation from liability in favor of the Debtors, the Ad Hoc
                 Committee and each of its members and their professionals, the Creditors’
                 Committee and each of its members and their professionals, the TCC and each of its
                 members and their professionals, the Ad Hoc Subrogation Group and each of its
                 members and the Related Persons of all of the foregoing parties from any and all
                 claims and causes of action arising on or after the Petition Date and any and all
                 claims and causes of action relating to any act taken or omitted to be taken in
                 connection with, or related to, formulating, negotiating, preparing, disseminating,

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                    implementing, administering, soliciting, confirming or consummating the Plan, the
                    disclosure statement to the Plan or any contract, instrument, release or other
                    agreement or document created or entered into in connection with the Plan or any
                    other act taken or omitted to be taken in connection with or in contemplation of the
                    Chapter 11 Cases or the restructuring of the Debtors, with the sole exception of
                    willful misconduct or gross negligence.

 Corporate          Upon the Effective Date and for a period of two (2) years thereafter, the board of
 Governance         directors of Reorganized PG&E Corp. (the “New PG&E Corp. Board”) shall
                    consist of nine (9) members. From the second anniversary of the Effective Date
                    through the fifth anniversary of the Effective Date, the New PG&E Board Corp.
                    Board shall consist of at least nine (9) and no more than eleven (11) members. The
                    chief executive officer of Reorganized PG&E Corp. (the “New PG&E Corp.
                    CEO”) shall be a director on the New PG&E Corp. Board. The New PG&E Corp.
                    CEO shall not be the chairperson of the New PG&E Corp. Board. The remaining
                    directors of the New PG&E Corp. Board shall be appointed on the Effective Date,
                    and thereafter elected annually, in the following manner:
                        1. One (1) director shall be nominated by IBEW Local 1245, on behalf of the
                           employees of Reorganized PG&E Corp.;
                        2. One (1) director shall be nominated by TURN, on behalf of ratepayers;
                        3. One (1) director shall be nominated by the Wildfire Fund; and
                        4. Each other director shall be nominated by the shareholders of Reorganized
                           PG&E Corp.
                    The board of directors of the Reorganized Utility (the “New Utility Board” and
                    together with the New PG&E Corp., the “New Boards”) will consist of the same
                    nine (9) members of the New PG&E Corp. Board. The chairperson of the New
                    PG&E Corp. Board shall not be the chairperson of the New Utility Board.
                    The New Boards shall consist of a diverse set of individuals (including, among
                    other things, complying with the requirements of California State Bill-826). The
                    majority of the directors of each of the New Boards shall consist of Californians
                    and individuals who have credentialed experience in the areas of utility operations,
                    engineering, safety, regulation and/or clean energy.

 Renaming /         For the first 60 days following the Effective Date, all employees of the Reorganized
 Rebranding         Utility will have the opportunity to submit recommendations for renaming or
                    rebranding the Reorganized Utility. If, after a period of 90 days following the
                    Effective Date, no employee recommendation is selected for renaming or
                    rebranding the Reorganized Utility, the Reorganized Utility shall effect a change of
                    name to “Golden State Power Light & Gas Co.,” and the Reorganized PG&E Corp.
                    shall effect a change of name to “GSPL&G Corp.”

 Prohibition        The Debtors and the Reorganized Debtors will not seek to recover the contributions
 Against Rate       made to the Fire Victim Claims Trust, the Subrogation Claims Trust or the Wildfire
 Increases          Fund, either directly or indirectly, through rate increases.

 Utility Rates to   The Plan shall be rate-neutral to end-market consumers in California on a net basis.
 Consumers          The Plan will rely on securitization amounts up to similar levels of the
                    securitization bonds issued in 2001. The proceeds of such new securitization bonds

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                  will be used for future statewide Wildfire Fund purposes. The proceeds of any new
                  securitization bonds will not be used for the Debtors’ or Reorganized Debtors’
                  benefit for plan purposes.

 Utility          Plan to include sale of certain key real estate assets of the Debtors to previously
 Consumer Rate    identified party or parties to allow for up to $1 billion rate credit for the benefit of
 Credit           all PG&E customers, to be applied equally over a period of 10 years from the
                  Effective Date.

 Post-Effective   The Utility will seek to enter into a long-term management, oversight, O&M or
 Date             similar contract(s)/agreement(s) with a qualified management team and/or top-tier
 Management       U.S.-domiciled utility/energy holding company (all previously identified) to
                  oversee and run the Utility beginning on the Effective Date. Such entity or
                  management team may be provided the opportunity to participate in the PG&E
                  Corp. New Money Investment in connection therewith.

 Key Corporate    PG&E agrees not to sell, and will oppose any attempt to municipalize, any portion
 Operating        of the operating business or assets, for a period of (5) years after the Effective Date
 Businesses       of the Plan; provided, however, this provision does not apply to any owned,
                  including currently occupied real estate. For the avoidance of doubt, this restriction
                  will not limit any change in control transaction relating to Reorganized PG&E
                  Corp., including, without limitation, a merger, tender offer or similar transaction.

 Key Employee     Subject to the support of the International Brotherhood of Electrical Workers
 Matters          (“IBEW”) for the Plan, contingent upon and after confirmation of the Plan, the
                  Reorganized Debtors shall enter into an agreement with Local Union No. 1245 of
                  the International Brotherhood of Electrical Workers (“Local 1245”) with such
                  agreement to apply only to the period starting on the Effective Date, extending the
                  two (2) Collective Bargaining Agreements currently in place between Pacific Gas
                  and Electric Company and Local 1245 (the IBEW Physical Agreement and the
                  IBEW Clerical Agreement, collectively the “IBEW CBAs”), until December 31,
                  2023 with such extension to include (i) a reasonable and appropriate general wage
                  increase for each of the extension years (2022 and 2023) deemed to be appropriate,
                  reasonable, consistent with past practice and included in go-forward allowed rates;
                  (ii) a prohibition on any involuntary layoffs during the term of the extended IBEW
                  CBAs; provided, however such prohibition will not limit any individual employee
                  terminations or displacements and will not apply to contract workforce or non-
                  bargaining unit members; and (iii) reemphasize the Reorganized Debtors’ and Local
                  1245’s commitment to maintaining a spirit of cooperation between labor and
                  management.

 Other            Compensation-related agreements between any of the Debtors and any directors,
 Employee         officers and employees of the Debtors existing as of the Effective Date, including
 Matters          any indemnification and severance obligations, short term incentive plan and other
                  incentive plans, with the exception of the revisions set forth herein, existing as of
                  the Effective Date, shall be assumed by the Reorganized Debtors.
                  The New Boards shall revise the long term incentive compensation programs of
                  Reorganized PG&E Corp. and the Reorganized Utility by increasing the proportion
                  of LTIP awards subject to performance-based vesting criteria. Performance criteria

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                 for LTIP awards will be modified by increasing/implementing performance
                 weightings that are based on achievement of public safety, infrastructure hardening
                 and other related strategic long term objectives.
                 In addition, following the Effective Date, the New PG&E Corp. Board shall further
                 revise the applicable employee compensation programs such that all PG&E Corp.
                 common stock currently held by employees and retirees in pension accounts, 401(k)
                 accounts and company-sponsored plans will be trued-up for any dilution on account
                 of the Plan with new equity issuances within 90 days after the Effective Date. Such
                 equity interests will be structured to comply with all applicable securities laws.

 Pension         Upon the Effective Date, the Reorganized Debtors shall assume and continue to
 Matters         maintain the PG&E Retirement Plan under its current terms, except to the extent
                 any amendment is required by law, and shall make any and all contributions
                 necessary to satisfy the minimum funding requirements under ERISA Section 302
                 and Internal Revenue Code Section 430.

 Executory       All executory contracts and unexpired leases not expressly listed for rejection on an
 Contracts and   exhibit to the Plan or previously assumed or rejected by order of the Bankruptcy
 Unexpired       Court shall be deemed assumed as of the Effective Date.
 Leases
                 The Debtors or Reorganized Debtors, as applicable, may alter, amend, modify, or
                 supplement the list of assumed executory contracts and unexpired leases and the
                 schedules of executory contracts and unexpired leases with respect to the Debtors or
                 Reorganized Debtors, as applicable, at any time, through and including 45 days
                 after the Effective Date.

 Renewable       Notwithstanding anything to the contrary in this Term Sheet, the Debtors and
 Energy Power    Reorganized Debtors shall not reject any renewable energy power purchase
 Purchase        agreement.
 Agreements

 Tax Matters     The Debtors and the Ad Hoc Committee will work together in good faith and will
                 use commercially reasonable efforts to structure and implement the Reorganization
                 in a tax efficient and cost-effective manner for the Reorganized Debtors and
                 creditors.
                 Post-Effective Date ownership of PG&E Corp. shall be structured to maximize the
                 usage of go-forward tax attributes.

 Timing / Key    Emergence from chapter 11 is to be achieved as soon as reasonably practicable,
 Dates           with specific deadlines as follows:
                     1. A plan of reorganization materially consistent with the terms provided in
                        this Term Sheet and disclosure statement corresponding to such plan to be
                        filed no later than October 31, 2019;
                     2. Order confirming such plan of reorganization entered no later than June 30,
                        2020; and
                     3. Effective date of the plan of reorganization to occur no later than 60 days
                        after the entry of the Confirmation Order.

 Conditions      The following conditions must be satisfied in order for the Effective Date to occur:

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 Precedent to
                    1. A plan of reorganization that provides a binding cap on the recoveries to the
 Effective Date
                        holders of Fire Claims (including fines, penalties, reimbursement and other
 of Plan
                        similar obligations but excluding Subrogation Fire Claims) that shall not be
                        greater than the Aggregate Fire Victim Consideration shall have been
                        confirmed;
                    2. A plan of reorganization that provides a binding cap on the recoveries to the
                        holders of Subrogation Fire Claims that shall not be greater than the
                        Aggregate Subrogation Consideration shall have been confirmed;
                    3. the Confirmation Order shall have been entered by the Court in form and
                        substance acceptable to the Ad Hoc Committee and the TCC, be in full force
                        and effect and not be subject to any stay or injunction and shall have become
                        a final order;
                    4. all definitive documents relating to the Plan shall be in form and substance
                        acceptable to the Ad Hoc Committee;
                    5. the Fire Victim Claims Trust shall have been established in accordance with
                        the terms provided herein and the procedures in connection therewith shall
                        be in form and substance acceptable to the TCC;
                    6. the Fire Victim Claims Trustee shall have been appointed in accordance with
                        the terms provided herein;
                    7. the members of the Fire Victim Claims Trust Oversight Committee shall
                        have been appointed in accordance with the terms provided herein;
                    8. the Subrogation Claims Trust shall be have been established in accordance
                        with the terms provided herein and the procedures in connection therewith
                        shall be in form and substance acceptable to the Ad Hoc Subrogation Group;
                    9. the Subrogation Claims Trustee shall have been appointed in accordance with
                        the terms provided herein;
                    10. the members of the Subrogation Trust Advisory Board shall have been
                        appointed in accordance with the terms provided herein;
                    11. a Wildfire Fund has been established pursuant to Public Utilities Code
                        section 3292, and the Utility has satisfied (i) the conditions to participate in
                        the Wildfire Fund pursuant to Public Utilities Code sections 3292 and 3293,
                        (ii) the conditions to obtain a safety certification pursuant to Public Utilities
                        Code section 8389, and (iii) any other conditions that are required to
                        participate in the Wildfire Fund and be eligible for the presumption of
                        reasonableness provided in Public Utilities Code section 451.1;
                    12. the New PG&E Corp. Common Stock, New PG&E Corp. Senior Unsecured
                        Notes and the New Utility Secured Notes shall have been issued in
                        accordance with the terms provided herein and in a manner acceptable to the
                        Ad Hoc Committee and the TCC;
                    13. all actions, documents, certificates and agreements necessary or appropriate
                        to implement the Plan shall have been effected or executed or deemed
                        executed and delivered, as the case may be, to the required parties and, to the
                        extent required, filed with the applicable governmental units in accordance
                        with applicable laws; and
                    14. all authorizations, consents, regulatory approvals, rulings or documents that
                        are necessary or appropriate to implement and effectuate the Plan (including,
                        but not limited to, the FERC Approvals, the CPUC Determinations, and the
                        NRC Approval) shall have been received.


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 Conditions      The following conditions must be met in order for the PG&E Corp. New Money
 Precedent to    Investment, New PG&E Corp. Senior Unsecured Notes Investment, and New
 Funding         Utility Secured Notes Investment to be funded:
                    1. A plan of reorganization that provides a binding cap on the recoveries to the
                       holders of Fire Claims (including fines, penalties, reimbursement and other
                       similar obligations but excluding Subrogation Fire Claims) that shall not be
                       greater than the Aggregate Fire Victim Consideration shall have been
                       confirmed and the Effective Date shall have occurred;
                    2. A plan of reorganization that provides a binding cap on the recoveries to the
                       holders of Subrogation Fire Claims that shall not be greater than the
                       Aggregate Subrogation Consideration shall have been confirmed;
                    3. There shall not have occurred one or more fires in the Debtors’ service
                       territory after the Petition Date and prior to January 1, 2020 that is asserted
                       by any person to arise out of the Debtors’ activities and that destroys or
                       damages more than 500 dwellings or commercial structures (individually or
                       in the aggregate);
                    4. There shall not have occurred one or more fires on or after January 1, 2020
                       destroying or damaging at least 500 dwellings or commercial structures
                       (individually or in the aggregate) within PG&E’s service area at a time
                       when the portion of PG&E’s system at the location of such fires was not de-
                       energized;
                    5. The form of all common equity documents and the plan of reorganization
                       and confirmation order are in form and substance acceptable to the Investor
                       Group; and
                    6. Customary closing conditions for an equity and unsecured debt financing
                       including, but not limited to, no material adverse change to PG&E Corp.
                    7. All Conditions Precedent to the Effective Date of the Plan, as set forth
                       above, shall have been satisfied.
                    8. The Debtors shall have maintained and held in good standing all of their
                       operating licenses, certificates and other regulatory authorizations and
                       approvals necessary to operate the Utility’s business with no pending
                       revocations of any such license, certificate, approval or authorization or
                       open proceedings contemplating such revocation.
                    9. Each of the conditions to funding under the Commitment Letter shall have
                       been satisfied or waived by all applicable parties thereto.




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                                       SCHEDULE 1

            List of Northern California Fires Covered by Fire Victim Claims Trust


   1. Butte Fire (2015)
   2. 2017 North Bay Fires
          a. LaPorte (La Porte)
          b. McCourtney
          c. Lobo
          d. Honey
          e. Redwood / Potter Valley
          f. Sulphur
          g. Cherokee
          h. 37
          i. Blue
          j. Pocket
          k. Atlas
          l. Cascade
          m. Nuns
          n. Adobe
          o. Norrbom
          p. Pressley
          q. Patrick
          r. Pythian / Oakmont
          s. Maacama
          t. Tubbs
          u. Point
   3. Camp Fire (2018)
   4. Ghost Ship (2016)




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                                      SCHEDULE 2

                             Short-Term Utility Unsecured Notes

1. $550 million principal amount of 3.50% senior notes due October 1, 2020

2. $250 million principal amount of 3.50% senior notes due October 1, 2020

3. $300 million principal amount of 4.25% senior notes due May 15, 2021

4. $250 million principal amount of 3.25% senior notes due September 15, 2021

5. $400 million principal amount of 2.45% senior notes due August 15, 2022




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                                        SCHEDULE 3

                              Long-Term Utility Unsecured Notes

1.    $375 million principal amount of 3.25% senior notes due June 15, 2023

2.    $500 million principal amount of 4.25% senior notes due August 1, 2023

3.    $300 million principal amount of 3.85% senior notes due November 15, 2023

4.    $450 million principal amount of 3.75% senior notes due February 15, 2024

5.    $350 million principal amount of 3.40% senior notes due August 15, 2024

6.    $400 million principal amount of 3.50% senior notes due June 15, 2025

7.    $200 million principal amount of 3.50% senior notes due June 15, 2025

8.    $600 million principal amount of 2.95% senior notes due March 1, 2026

9.    $400 million principal amount of 3.30% senior notes due March 15, 2027

10.   $1,150 million principal amount of 3.30% senior notes due December 1, 2027

11.   $300 million principal amount of 4.65% senior notes due August 1, 2028

12.   $3,000 million principal amount of 6.05% senior notes due March 1, 2034

13.   $700 million principal amount of 5.80% senior notes due March 1, 2037

14.   $250 million principal amount of 5.80% senior notes due March 1, 2037

15.   $400 million principal amount of 6.35% senior notes due Feb 15, 2038

16.   $550 million principal amount of 6.25% senior notes due March 1, 2039

17.   $550 million principal amount of 5.40% senior notes due January 15, 2040

18.   $250 million principal amount of 5.40% senior notes due January 15, 2040

19.   $250 million principal amount of 4.50% senior notes due December 15, 2041

20.   $400 million principal amount of 4.45% senior notes due April 15, 2042

21.   $350 million principal amount of 3.75% senior notes due August 15, 2042




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22.   $375 million principal amount of 4.60% senior notes due June 15. 2043

23.   $500 million principal amount of 5.125% senior notes due November 15, 2043

24.   $450 million principal amount of 4.75% senior notes due February 15, 2044

25.   $225 million principal amount of 4.75% senior notes due February 15, 2044

26.   $500 million principal amount of 4.30% senior notes due March 15, 2045

27.   $100 million principal amount of 4.30% senior notes due March 15, 2045

28.   $450 million principal amount of 4.25% senior notes due March 15, 2046

29.   $400 million principal amount of 4.00% senior notes due December 1, 2046

30.   $200 million principal amount of 4.00% senior notes due December 1, 2046

31.   $850 million principal amount of 3.95% of senior notes due December 1, 2047




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                                     SCHEDULE 4

                       PG&E Corp. New Money Commitment Group

   1. Apollo Capital Management, L.P.
   2. Canyon Capital Advisors LLC
   3. Capital Research and Management Company
   4. Citadel Advisors LLC
   5. Davidson Kempner Capital Management LP
   6. Elliott Management Corporation
   7. Farallon Capital Management, L.L.C.
   8. Oaktree Fund GP, LLC
   9. Pacific Investment Management Company LLC
   10. Theater Investor LLC (wholly owned by funds managed by Sculptor Capital LP)
   11. Third Point LLC
   12. Varde Partners, Inc.




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                                     SCHEDULE 5

               New PG&E Corp. Senior Unsecured Notes Commitment Group

   1. Apollo Capital Management, L.P.
   2. Canyon Capital Advisors LLC
   3. Capital Research and Management Company
   4. Citadel Advisors LLC
   5. Davidson Kempner Capital Management LP
   6. Elliott Management Corporation
   7. Farallon Capital Management, L.L.C.
   8. Oaktree Fund GP, LLC
   9. Pacific Investment Management Company LLC
   10. Theater Investor LLC (wholly owned by funds managed by Sculptor Capital LP)
   11. Third Point LLC
   12. Varde Partners, Inc.




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                                     SCHEDULE 6

                      New Utility Secured Notes Commitment Group

   1. Apollo Capital Management, L.P.
   2. Canyon Capital Advisors LLC
   3. Capital Research and Management Company
   4. Citadel Advisors LLC
   5. Davidson Kempner Capital Management LP
   6. Elliott Management Corporation
   7. Farallon Capital Management, L.L.C.
   8. Oaktree Fund GP, LLC
   9. Pacific Investment Management Company LLC
   10. Theater Investor LLC (wholly owned by funds managed by Sculptor Capital LP)
   11. Third Point LLC
   12. Varde Partners, Inc.




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                                       EXHIBIT 1

                   New PG&E Corp. Senior Unsecured Notes Term Sheet

Term sheet included in Commitment Letter.




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                                       EXHIBIT 2

                           New Utility Secured Notes Term Sheet

Term sheet included in Commitment Letter.




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